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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     Tampa Division
                                   www.flmb.uscourts.gov
IN RE:                                                       Chapter 11

CFRA HOLDINGS, LLC,                                          Case No.: 8:20-bk-03608-CPM

                                                             Jointly Administered with:
CFRA, LLC                                                    Case No.: 8:20-bk-03609-CPM
CFRA TRI-CITIES, LLC                                         Case No.: 8:20-bk-03610-CPM

               Debtors.
                                          /

        LIMITED OBJECTION OF BALLANTYNE PROPERTY GROUP LLC TO
   NOTICE OF ASSUMPTION, ASSIGNMENT AND CURE AMOUNT WITH RESPECT
    TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES OF THE DEBTORS
          Ballantyne Property Group LLC d/b/a Ballantyne Property Investors Group, LLC
(“Ballantyne” or “Landlord”), by and through its undersigned counsel, files its Limited Objection

to Debtors’ Notice of Assumption, Assignment and Cure Amount With Respect to Executory
Contracts and Unexpired Leases of the Debtors (Doc. No. 145) (the “Limited Objection”) with

respect to the Cure Amount (as defined below), and in support states as follows:

                                         BACKGROUND
          1.      In December 2011, CFRA, LLC ( “Debtor” or “Tenant”) and Mecklenburg Land
Development LLC (“Original Landlord”) entered into that certain Lease Agreement dated December
20, 2011, to lease certain real property located at 16061 Lancaster Highway at Old U.S. Highway 521,
Unit A, Charlotte, North Carolina (the “Leased Premises”), as amended by that certain First
Amendment to Lease Agreement dated January 13, 2012, as further amended by that certain Second
Amendment to Lease Agreement dated February __, 2012, as assigned from Original Landlord to
Ballantyne (collectively the “Lease”). A true and correct copy of the Lease is attached as Composite
Exhibit A.
          2.      On June 2, 2012, CRFA, LLC also executed that certain Tenant Estoppel in favor of
Ballantyne (the “Tenant Estoppel”), stating that the term of the lease commenced on September 12,




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2012 and is scheduled to expire on September 30, 2022 (the “Lease Term”). A true and correct copy
of the Tenant Estoppel is attached as Exhibit B.
          3.     Under the Lease, Tenant is currently required to pay Ballantyne Base Rent in the
amount of $10,899.17 per month and Additional Rent, including among others, Taxes, Insurance and
Common Area Maintenance (“TICAM”), as well as utilities. See Exhibit A, ¶ 4(a)–(e). In the event
Tenant defaulted under the Lease, Tenant is responsible for the costs of enforcing the terms of the
Lease, including reasonable attorneys’ fees. Specifically, Section 16(d) provides as follows: “[u]pon
the occurrence of any default by Tenant, whether resulting in termination or otherwise, Landlord may
immediately recover from Tenant the cost of recovering the Premises and its costs and expenses
(including reasonable attorney's fees) incurred in connection with enforcing its rights under this Lease.”
See Exhibit A, ¶ 16(d).
          4.     Debtor defaulted under the Lease by failing to pay the April 2020, May 2020, and June
2020 lease payments as they came due and by the filing of the instant bankruptcy case. As of the date
of this Limited Objection, Debtor is still in default under the Lease and has not cured any of the
monetary defaults.
                                  BANKRUPTCY PROCEEDING
          5.     On May 6, 2020, CFRA Holdings, LLC; CFRA, LLC; and CFRA Tri-Cities, LLC
(collectively, the “Debtors”) filed their respective voluntary petitions under Chapter 11 of the
Bankruptcy Code. The Debtors cases are being jointly administered under Case No.: 8:20-bk-
03608-CPM.
          6.     On June 6, 2020, this Court entered its Order Approving Bidding Procedures,

Assumption and Assignment Procedures, and the Form and Manner of Notice Thereof (Doc. No.

134) (the “Assumption Procedures Order”). The Assumption Procedures Order set out certain

procedures for the assumption and assignment of the various executory contracts and leases to

which the Debtors were parties. Specifically, the Assumption Procedures Order required Debtors

to file a notice of assumption that included the cure amount that the Debtors believe is required to

be paid under section 365(b)(1)(A) and (B) of the Bankruptcy Code for each of the assumed




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contracts. The Assumption Procedures Order further set procedures for objections to the notice of

assumption, including objections to the cure amount.

          7.      In accordance with the Assumption Procedures Order, the Debtors filed their Notice

of Assumption, Assignment and Cure With Respect to Executory Contracts and Unexpired Leases

of the Debtors (Doc. No. 145) (the “Assumption Notice”). Exhibit A to the Assumption Notice

provides for assumed contracts and states that CFRA, LLC intends to assume and assign the

Ballantyne Lease for store number 3423 and proposes a cure amount of $40,315.00 (the “Cure

Amount”).
                                      LIMITED OBJECTION

          8.      To the extent Debtor wishes to assume the Lease, Ballantyne does not object to its

assumption. However, the correct Cure Amount must be paid. See 11 U.S.C. § 365(b)(1)(A), (B).

Ballantyne objects to the proposed Cure Amount of $40,315.00. Ballantyne calculates the

necessary cure payment to be $56,436.69, which is summarized in Exhibit C.

          9.      Section 365(b)(1)(A) of the Bankruptcy Code requires that “if there has been a

default in an . . . unexpired lease, the [debtor-in-possession] may not assume such . . . lease unless,

at the time of assumption of such . . . lease, the [debtor-in-possession] cures, or provides adequate

assurance that the [debtor-in-possession] will promptly cure such default.” 11 U.S.C. §

365(b)(1)(A).

          10.     A debtor must also “compensate, a party . . . to such . . . lease, for any actual

pecuniary loss to such party resulting from such default.” 11 U.S.C. § 365(b)(1)(B). This includes

repayment of reasonable attorneys’ fees and costs, provided that the party seeking fees is entitled

to such fees under the lease. In re Crown Books Corp., 269 B.R. 12, 15 (Bankr. D. Del. 2001)

(recognizing that although attorneys’ fees are not independently recoverable under the Bankruptcy

Code, section 365(b)(1)(B) allows for such recovery if based upon the existence of a separate

agreement between the parties).




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          11.     Here, Debtor’s proposed payment of $40,315.00, fails to include the TICAM

expenses and utility expenses. These are required expenses under the terms of the Lease. See

Exhibit A, ¶ 4(a)–(e).

          12.     The Cure Amount also fails to include reasonable attorneys’ fees. As provided in

Paragraph 16 of the Lease, Debtor is required to compensate Ballantyne for all legal fees associated

with or arising from the breach of the Lease. See Exhibit A, ¶ 16. These amounts must also be

included in the Cure Amount. Thus, the proper Cure Amount to assume the Lease is $56,436.69

and Ballantyne requests that this Court sustain this Limited Objection and direct Debtors to pay
the appropriate Cure Amount.

                                   RESERVATION OF RIGHTS

          13.     Ballantyne reserves the right to make such other and further objections as may be

appropriate, including but not limited to, objections regarding adequate assurance of future

performance under Bankruptcy Code § 365. Ballantyne further reserves the right to file

administrative expense claims, unsecured claims, and any other claims against the Debtors’

bankruptcy estates.

                                            CONCLUSION

          14.     For the reasons set forth above, Ballantyne respectfully requests that this Court (i)

sustain this Limited Objection; (ii) require that any order authorizing the assumption of the Lease

require Debtor to pay all amounts owing through the effective date of the assumption, including

attorneys’ fees and expenses; and (iii) grant such further relief as it deems just and proper.
                                               BURR FORMAN, LLP

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                                 CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that on June 22, 2020, I electronically filed the foregoing with the

Clerk of Court by using the Case Management/Electronic Case Filing (“CM/ECF”) system which

will send notice of electronic filing to all parties indicated on the electronic filing receipt and via

U.S. Mail to: CFRA, LLC, 900 Branchview Drive, Ste. 215, Concord, NC 28025; DMJ Realty

Services, LLC, 100 Crossways Park Drive West, Ste. 207, Woodbury, NY; and John A. Morris,

Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 34 Floor, New York, NY 10017.

                                                       /s/ J. Ellsworth Summers, Jr.
                                                                Attorney




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